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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

        IN RE:                       )     CASE NO. 15-71563-sms
                                     )
     RITA ANN ROSE                   )     CHAPTER 11
                                     )
           Debtor.                   )
====================================================================


                             APPLICATION FOR FINAL DECREE


        COMES NOW Rita Rose (the “Applicant”) and hereby files this Application for Final

Decree pursuant to Fed. R.Bankr. P 3022, and respectfully shows the Court as follows

        1.       On November 6, 2015 Applicant filed a petition for relief under Chapter 11 of Title

11, United States Code, 11 U.S.C. §§ 101 et seq. (as amended, modified or supplemented, the

“Bankruptcy Code”). No Trustee has been appointed. Applicant continues to operate and manage

her affairs as a debtor-in-possession in accordance with Sections 1107 and 1108 of the Bankruptcy

Code.

        2.       Debtor filed an amended plan of reorganization on April 16, 2018 (Doc. 117) (the

“Plan”). The Court entered an Order Confirming and Amending Debtor’s Plan of Reorganization

on September 19, 2018 (Doc. 141).

        3.       The Plan provided for certain payments and transfers of property to various classes

of creditors. Plan payments have been made on a monthly or quarterly basis since Plan

confirmation and all are up to date as of the date hereof. Debtor is also up to date with her quarterly

payments to the U.S. Trustee, with the 4th quarter 2018 payment to be made in the coming week.

        4.       Accordingly, the Plan has been substantially consummated.




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        5.      All motions, contested matters, and adversary proceedings have been finally

resolved.

        6.      The Debtor requests that the Court make appropriate provision in its Order closing

the Case to allow any party in interest to file an objection to such closure. Barring any timely

objections, the Order shall restrain all creditors and claimants from commencing or continuing any

suit or other proceeding against Debtor or his assets which ay creditor or claimant had against

Debtor or any of his assets at the time of filing the Petition, other than claims, rights or interests

arising out of the confirmed Plan or orders of this Court.



WHEREFORE Counsel requests:

        i.      that the Court enter a Final Decree and close the above-captioned case; and

        ii      that the Court retain jurisdiction to enter a discharge Order and reopen the case for

                that limited purpose without Debtor paying a fee to reopen the case solely for the

                purpose of entry of a discharge Order upon completion of all Plan payments.

        iii.    that the Court order such further relief as is deemed proper.

        Respectfully Submitted, this 28th day of February, 2019.

                                                        Respectfully Submitted,
                                                        SLIPAKOFF AND SLOMKA, PC
                                                        Attorney for Debtor

                                                        By: /s/ Howard P. Slomka, Esquire
                                                        Georgia Bar #652875
                                                        2859 Paces Ferry Rd. SE. Suite 1700
                                                        Atlanta, Georgia 30339
                                                        Attorney for Debtor




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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                              :           CHAPTER 11
                                    :
RITA ANN ROSE                       :
                                    :           CASE NO. 15-71563-sms
                                    :
                        Debtor      :
______________________________________________________________________________

                               CERTIFICATE OF SERVICE

      This is to certify that I have this day served the foregoing APPLICATION FOR FINAL
 DECREE upon the following by email and the ECF system.

                          SEE ATTACHED LIST OF CREDITORS


 Dated this 28th day of February 2019.

                                                By:   /s/ Howard P. Slomka, Esquire

                                                Georgia Bar #652875
                                                2859 Paces Ferry Rd. SE.
                                                Suite 1700
                                                Atlanta, Georgia 30339
                                                Attorney for Debtor




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